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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                                CR 20-32-M-DWM
              Plaintiff,
     vs.
                                                PROTECTIVE ORDER
 MATTHEW ANTHONY
 MARSHALL,

              Defendant.


     Pursuant to the Motion of Defendant for a Protective Order (Doc. _____),

and with good cause appearing, IT IS ORDERED:

     (1) documents or information produced by NetJets Aviation, Inc., NetJets

           Sales, Inc., NetJets Services, Inc. and/or NetJets Inc. (collectively,

           “NetJets”) in response to the subpoenas served upon them on February 8,

           2021 that are stamped “CONFIDENTIAL – Pursuant to NetJets

           Protective Order” (hereinafter, the “NetJets Confidential Documents”)

           shall be used only for the purposes of and within the confines of this

           criminal case;



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 (2) NetJets Confidential Documents and the information contained therein

    shall be shown and/or disclosed only to:

       a. the parties to this case,

       b. the parties’ attorneys,

       c. the parties’ attorneys’ employees, experts or consultants whose

          review of the material is reasonably necessary for the preparation

          and presentation of the party’s case; and

       d. judges, court personnel, and/or witnesses during witness

          preparation, deposition, or trial testimony, and as exhibits to

          deposition or in trial;

 (3) attorneys for the parties shall advise every authorized person who

    reviews the NetJets Confidential Documents or the information contained

    therein as to the limitations and requirements of this Order;

 (4) attorneys for the parties shall be responsible to employ reasonable

    measures to control duplication of, access to, and distribution of the

    NetJets Confidential Documents or the information contained therein;

 (5) none of the NetJets Confidential Documents and information contained

    therein shall be released, disclosed, or shown to any person or entity

    other than those identified in Paragraph 2 above, including by filing the

    same on a public court docket, unless ordered by the Court; and
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      (6) if any person or entity moves to modify this Order, Defendant shall

         notify NetJets, as soon as possible, so that NetJets has a reasonable

         opportunity to challenge the modification. Notification shall be provided

         via mail and email to:

             NetJets Inc.
             Attn: Office of General Counsel
             4151 Bridgeway Avenue
             Columbus, Ohio 43219
             abrough@netjets.com
             lsuhayda@netjets.com

      Failure of any party, or third-party with knowledge of this Order, to comply

with the terms of this Order will be subject to punishment to the full extent of the

Local Rules, the Federal Rules of Criminal Procedure, and all applicable law,

including the Court’s inherent authority.

      DATED this ___ day of _____________, 2021.



                                       __________________________________
                                       Donald W. Molloy, District Judge
                                       United States District Court




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